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                                                                  111 Highland Ave.
                                                                  Rensselaer, NY 12144
                                                                  August 28, 2021


To Whom It May Concern:


This letter is to attest that on June 14, 2021,1 had arranged with Brandon Fellows to assist in the repair
of the front door of my residence. As the enclosed text message indicates he expected to come to my
home somewhere after 10 AM, but he needed to make a stop on the way. He later texted me that he
would be there no later than 1 PM, however, as the attached phone record indicates, Mr. Fellows called
me at 12:41 PM to let me know that he would be unable to come.


Sincerely.

                              ______            '^•yb-'lX
Howard Berkun




                                     M A T T H E W A. B A U E R
                                   Notary Public, State of New York
                                      Qualified in Albany County
                                        Reg. No. 01BA6400659
                                   My Commission Expires 11/18/2023
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  AT&T Wi-Fi
                        Bi22 PM




 Hello Howie I'll      ..
    am to help with the door
 ^^^e to go to Albany ei?he;"
 before or after I help\ou out
   see you soonl




 Hello Howie, could I please
have the address for when I
finish up here?tf?
Thank you!



Heading to you now. Will see
you by 1pm


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                                        o ic.4b5.6051           Incoming. CL -
06/13/2021    12:38PM                                                                 ^^^^^^^^
                                   ^    518.428.3974            Incoming, CL
WlWm          01:39PM                                                                  WIFI
                                   ^Brandon"                    /Mbany, NY
06/13/2021                                                                             WlB
              02:26PM               ^   518.210.6566            Albany, NY
06/13/2021                                                                            WJFI
              08:32PM               %^ 000.000.0911             911 Emergency, CL
'06/14/2021   09:16 AM              t i 716.855.3255            Buffelo.NY            mm
06/14/2021    09:18AM               ^   347.735.4607            Bronx Nyc, NY
06/14/2021    09:22AM               %C 212.969.9999             New York, NY          WIFI

06/14/2021    10:06AM                   516.589.0772            Floralpark. NY

06/14/2021    10:07AM               ^   516.589.0772            Fforalpark, NY

06/14/2021    10:07AM               %i 516.589.0772             Floralpark, NY

06/14/2021    10:19AM               ^   518.764.8698            Incoming. CL

06/14i2021    12:41PM                   Brandon                 IncomingrCL

              02:04PM                   716.855.3255            Buffalo. NY
06/14/2021
              02:04PM               t* 716.855.3255             Incoming, CL
..3.14/2021
                                    ti 518 210.6566            Albany, MY
06/14^021     05.31PM
                                    ti 516.589.0772            Floralpark, NY
              07:46PM
                                    ti 518.210.6566
              09:28PM
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              1t;56AM
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